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 1 LAW OFFICES OF CHRIS COSCA
 2 CHRISthCOSCA        (SBN 144546)
   1007 7 Street, Suite 210
 3 Sacramento, CA 95814
   (916) 440-1010
 4 Attorney for Defendant
   JAMES RANDOLPH SHERMAN
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 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                       2:13-CR-00302 MCE
11
                                   Plaintiff,        AMENDED STIPULATION REGARDING
12                                                   EXCLUDABLE TIME PERIODS UNDER
                            v.                       SPEEDY TRIAL ACT; ORDER
13
     JAMES RANDOLPH SHERMAN,                         DATE: September 22, 2016
14                                                   TIME:  10:00 a.m.
                                  Defendant.         COURT: Hon. Morrison C. England, Jr.
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17
                                                STIPULATION
18
           1.     By previous order, this matter was set for status on September 22, 2016.
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           2.     By this stipulation, the parties now move to continue the status conference to
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     November 17, 2016, and to exclude time between September 22, 2016 and November 17,
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     2016, under Local Code T4.
22
           3.     The parties agree and stipulate, and request that the Court find the following:
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                  a)     Discovery associated with this case includes 146 pages and multiple
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           CD/DVDs, some of which include lengthy surveillance, video and audio. This discovery
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           has been either produced directly to counsel and/or made available for inspection and
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           copying.
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                  b)     Defense counsel desires additional time to review discovery, investigate,
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            and to confer with his client concerning discovery, investigation, potential options for the
      STIPULATION TO CONTINUE STATUS CONFERENCE      1
           Case 2:13-cr-00302-MCE Document 106 Filed 09/20/16 Page 2 of 3


 1        defense and trial preparation.

 2               c)      Counsel for defendant believes that failure to grant the above-requested

 3        continuance would deny counsel the reasonable time necessary for effective

 4        preparation, taking into account the exercise of due diligence.

 5               d)      The government does not object to the continuance.

 6               e)      Based on the above-stated findings, the ends of justice served by

 7        continuing the case as requested outweigh the interest of the public and the defendant

 8        in a trial within the original date prescribed by the Speedy Trial Act.

 9               f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

10        § 3161, et seq., within which trial must commence, the time period of September 22,

11        2016 to November 17, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§

12        3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by

13        the Court at defendants’ request on the basis of the Court’s finding that the ends of

14        justice served by taking such action outweigh the best interest of the public and the

15        defendant in a speedy trial.

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     STIPULATION TO CONTINUE STATUS CONFERENCE      2
            Case 2:13-cr-00302-MCE Document 106 Filed 09/20/16 Page 3 of 3


 1         4.     Nothing in this stipulation and order shall preclude a finding that other provisions

 2 of the Speedy Trial Act dictate that additional time periods are excludable from the period
 3 within which a trial must commence.
 4
 5         IT IS SO STIPULATED.

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 7
     Dated: September 19, 2016                          /s/ Chris Cosca for
 8                                                      JASON HITT
                                                        Assistant United States
 9                                                      Attorney
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11
12 Dated: September 19, 2016                            /s/ Chris Cosca
                                                        CHRIS COSCA
13
                                                        Counsel for Defendant
14                                                      JAMES SHERMAN

15
16                                                ORDER

17         IT IS SO ORDERED.

18 Dated: September 20, 2016
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      STIPULATION TO CONTINUE STATUS CONFERENCE     3
